         Case 19-40655-drd7                      Doc 4 Filed 03/21/19 Entered 03/21/19 15:58:28                            Desc Ch 7
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Information to identify the case:

Debtor 1:
                      Barbara A Kuntz−Pignone                                    Social Security number or ITIN:   xxx−xx−4183
                                                                                 EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name   Last Name

Debtor 2:                                                                        Social Security number or ITIN: _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)                                                              EIN: _ _−_ _ _ _ _ _ _
United States Bankruptcy Court:        Western District of Missouri               Date case filed for chapter:       7      3/21/19

Case number:19−40655−drd7
Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                          12/15


For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.
The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                  About Debtor 1:                                     About Debtor 2:

1.        Debtor's full name                      Barbara A Kuntz−Pignone

2.        All other names used in the
          last 8 years

3.      Address                                  P.O. Box 2
                                                 Milo, MO 64767

4.      Debtor's attorney                        Jennifer L. Benedict                                 Contact phone 816−252−9400
                                                 530 E. 23rd Street S.
        Name and address                         Independence, MO 64055                               Email: jennifer.benedict@jbenedictlaw.com

5.      Bankruptcy trustee                       Jill D. Olsen                                        Contact phone 816−521−8811
                                                 The Olsen Law Firm, LLC
        Name and address                         118 N. Conistor Ln.                                  Email: trustee@olsenlawkc.com
                                                 Suite B #290
                                                 Liberty, MO 64068
                                                                                                               For more information, see page 2 >
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Debtor Barbara A Kuntz−Pignone                                                                                               Case number 19−40655−drd7


6. Bankruptcy clerk's office                         U.S. Bankruptcy Court                                            Hours open:
                                                     Charles Evans Whittaker Courthouse                               9:00 am − 4:30 pm
    Documents in this case may be filed at           400 East 9th Street, Room 1510
    this address. You may inspect all records        Kansas City, MO 64106                                            Contact phone 816−512−1800
    filed in this case at this office or online at
    www.pacer.gov.
                                                                                                                      Date: 3/21/19

7. Meeting of creditors                              April 25, 2019 at 11:00 AM                                       Location:

    Debtors must attend the meeting to be            The meeting may be continued or adjourned to a                   400 East 9th Street,, Trustee
    questioned under oath. In a joint case,                                                                           Hearing Room 2110B, Kansas
    both spouses must attend. Creditors may          later date. If so, the date will be on the court
    attend, but are not required to do so.           docket.                                                          City, MO 64106


8. Presumption of abuse                              The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                         Filing deadline: 6/24/19
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                     You must file a complaint:
                                                     • if you assert that the debtor is not entitled to receive a discharge of any debts under any of the
                                                       subdivisions of 11 U.S.C. § 727(a)(2) through (7), or

                                                     • if you want to have a debt excepted from discharge under 11 U.S.C § 523(a)(2), (4), or (6).

                                                     You must file a motion:
                                                     • if you assert that the discharge should be denied under § 727(a)(8) or (9).


                                                     Deadline to object to exemptions:                                Filing deadline: 30 days after the
                                                     The law permits debtors to keep certain property as exempt.      conclusion of the meeting of creditors
                                                     If you believe that the law does not authorize an exemption
                                                     claimed, you may file an objection.


10. Proof of claim                                   No property appears to be available to pay creditors. Therefore, please do not file a
                                                     proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless       will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.                   deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                                  The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                     not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                     exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                     www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                     debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                     objection by the deadline to object to exemptions in line 9.
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